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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

---------------------------------x
                                    :
In re:                              :                         Chapter 11
                                    :
QUIKSILVER, INC., et al.,           :                         Case No. 15-11880 (BLS)
                                    :
                          Debtors.1 :                         (Jointly Administered)
                                    :
---------------------------------x                            Related Docket No. __


ORDER PURSUANT TO BANKRUPTCY CODE SECTIONS 105(a), 327, 330 AND 331
AUTHORIZING DEBTORS TO EMPLOY AND PAY PROFESSIONALS UTILIZED IN
               THE ORDINARY COURSE OF BUSINESS

                 Upon the motion (the “Motion”)2 of the Debtors for an order under Bankruptcy

Code sections 105(a), 327, 330 and 331, authorizing, but not directing, the Debtors (a) to retain

the Ordinary Course Professionals under Bankruptcy Code sections 105(a) and 327 without the

necessity of a separate, formal retention application approved by this Court for each Ordinary

Course Professional; and (b) to pay the Ordinary Course Professionals under Bankruptcy Code

sections 330 and 331 for postpetition services rendered and expenses incurred, subject to certain

limits set forth below, without the necessity of additional Court approval; and due and sufficient

notice of the Motion having been given under the particular circumstances; and it appearing that

no other or further notice need be provided; and it appearing that the relief requested by the

Motion is in the best interests of the Debtors, their estates, their creditors, their stakeholders and

other parties in interest; and after due deliberation thereon and sufficient cause appearing

therefor, it is hereby

                 ORDERED, ADJUDGED AND DECREED that:

                 1.       The Motion is GRANTED to the extent set forth herein.

1
    The Debtors and the last four digits of their respective taxpayer identification numbers are as follows:
    Quiksilver, Inc. (9426), QS Wholesale, Inc. (8795), DC Direct, Inc. (8364), DC Shoes, Inc. (0965), Fidra, Inc.
    (8945), Hawk Designs, Inc. (1121), Mt. Waimea, Inc. (5846), Q.S. Optics, Inc. (2493), QS Retail, Inc. (0505),
    Quiksilver Entertainment, Inc. (9667), and Quiksilver Wetsuits, Inc. (9599). The address of the Debtors’
    corporate headquarters is 5600 Argosy Circle, Huntington Beach, California 92649.
2
    Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Motion.
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               2.      The Debtors are authorized to employ and retain the Ordinary Course

Professionals listed on Exhibit 1 hereto, without the need to file individual retention applications

and obtain retention orders for each such Ordinary Course Professional.

               3.      Within one business day after the date of entry of this order, the Debtors

shall serve this order via email upon each initial Ordinary Course Professional. Thereafter, no

later than two weeks after the date of entry of this order, each initial Ordinary Course

Professional shall provide to the Debtors and the Debtors’ counsel, for filing with the Court and

service upon (a) United States Trustee, 844 King Street, Suite 2207, Wilmington, Delaware

19801, Attn: Mark Kenney, Esq.; (b) counsel to the agent for the Debtors’ postpetition secured

loan facilities (the “DIP Agent”): (i) Kirkland & Ellis LLP, 300 North LaSalle Street, Chicago,

Illinois, 60654, Attn: Patrick J. Nash, Jr., Ross M. Kwasteniet, and William A. Guerrieri, (ii)

Riemer & Braunstein, Three Center Plaza, Boston, Massachusetts 02108, Attn: Steven Fox, Esq.,

(iii) Womble Carlyle Sandridge & Rice, LLP, 222 Delaware Ave., Suite 1501, Wilmington,

Delaware 19801, Attn: Steven Kortanek, Esq.; (c) agent for the Debtors’ prepetition senior

secured notes, U.S. Bank National Association, Global Corporate Trust Services, Mailcode: EP-

MN-WS3C, 60 Livingston Ave., St. Paul, MN 55107-2292, Attn: Rich Prokosch, Vice President,

Account Manager; (d) agent for the Debtors’ prepetition senior unsecured notes, U.S. Bank

National Association, Global Corporate Trust Services, Mailcode: EP-MN-WS3C, 60 Livingston

Ave., St. Paul, MN 55107-2292, Attn: Rich Prokosch, Vice President, Account Manager; and (e)

counsel to any official committee appointed in these Chapter 11 Cases (each, a “Committee”),

(collectively, the “Notice Parties”) a completed OCP Declaration substantially in the form

attached hereto as Exhibit 2.

               4.      The Notice Parties shall have fourteen (14) days to object to the retention

of the Ordinary Course Professional in question. Any such objection must be filed with the
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Court and served upon (a) the Ordinary Course Professional; and (b) the Notice Parties, on or

before the Objection Deadline. If any such objection cannot be resolved and withdrawn within

fourteen (14) days after service, the matter shall be scheduled for hearing before this Court on

the next regularly scheduled hearing date or other date otherwise agreeable to the Ordinary

Course Professional, the Debtors, and the objecting party. If no objection is received by the

Objection Deadline, or if an objection is withdrawn, the Debtors are authorized to retain the

Ordinary Course Professional as a final matter without further order of the Court, nunc pro tunc

to the Petition Date or, if later, the date of engagement.

               5.      The Debtors are authorized, without further hearing or order from this

Court, to employ and retain Additional Ordinary Course Professionals, not currently listed on

Exhibit 1, without the need to file individual retention applications or provide further hearing or

notice to any party, by filing with the Court a Supplement and serving a copy of the Supplement

upon the Notice Parties.

               6.      Each Additional Ordinary Course Professional shall be required to file and

serve the OCP Declaration within two weeks after the filing of the Supplement. The Notice

Parties shall have fourteen (14) days after service of the OCP Declaration to object to the

retention of the Additional Ordinary Course Professional in question. Objections to the retention

of an Additional Ordinary Course Professional shall be handled in the same manner as objections

to the retention of an Ordinary Course Professional. If no objection is submitted, or the objection

is withdrawn, the Debtors are authorized to retain the Additional Ordinary Course Professional

as a final matter without further order of the Court, nunc pro tunc to the Petition Date or, if later,

the date of engagement.

               7.      The Debtors are authorized, without formal application to the Court by

any Ordinary Course Professional, to make monthly payments up to the monthly fee and expense
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cap for each Ordinary Course Professional, to each of the Ordinary Course Professionals in the

manner customarily made by the Debtors, subject to a possible increase for certain Ordinary

Course Professionals as provided below, upon receipt from the professional of reasonably

detailed invoices indicating the nature of the services rendered and calculated in accordance with

such professional’s standard billing practices (without prejudice to the Debtors’ normal right to

dispute such invoices). All invoices provided to the Debtors by the Ordinary Course

Professionals shall include a breakdown, where practicable, of fees and expenses incurred on

account of each individual Debtor, or shall indicate that the fees and expenses are common to the

Debtors. The manner in which each Ordinary Course Professional provides this breakdown may

vary based on the Ordinary Course Professional’s recordkeeping and invoicing systems, but the

breakdown must be provided in a manner that provides equivalent information.

               8.        Payments to Ordinary Course Professionals made pursuant to this order

shall not exceed a total of $100,000.00 in any given month per Ordinary Course Professional, or

$400,000.00 in any given month on an aggregate basis, without further order of this Court.

               9.        All payments to any Ordinary Course Professional shall be subject to the

approval of the Court in accordance with the procedures approved by order of the Court for

Chapter 11 Professionals involved in the conduct of these cases only if payments to such

professional exceed the monthly fee and expense cap for each Ordinary Course Professional.

               10.       Notwithstanding the foregoing, the monthly caps established above shall

apply only to direct disbursements by the Debtors and shall specifically not apply to any

contingent fee amounts received by Ordinary Course Professionals from recoveries realized on

behalf of the Debtors.

               11.       For each three-month period of these cases, by the last day of the month

following each such three-month period, the Debtors shall file with the Court, and serve upon the
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Notice Parties, a statement that includes the following information for each Ordinary Course

Professional: (a) the name of the Ordinary Course Professional; (b) the aggregate amounts paid

as compensation for services rendered and reimbursement of expenses incurred by such Ordinary

Course Professional during the statement period; and (c) a general description of the services

rendered by such Ordinary Course Professional. The first payment summary shall cover the

period from the Petition Date through November 30, 2015.

               12.     Notwithstanding anything to the contrary contained herein, the relief

granted in this Interim Order and any payment to be made hereunder shall be subject to the terms

of any orders approving entry into debtor-in-possession financing and authorizing the use of cash

collateral approved by this Court in these Chapter 11 Cases (including with respect to any

budgets or other covenants governing or relating to such debtor-in-possession financing and/or

use of cash collateral), and to the extent there is any inconsistency between the terms of such

orders and any action taken or proposed to be taken hereunder, the terms of such orders shall

control.

               13.     Notwithstanding the relief granted herein and any actions taken hereunder,

nothing herein shall create, nor is intended to create, any rights in favor of, or enhance the status

of any claim held by, any Ordinary Course Professional.

               14.     The Debtors’ right to dispute any invoices shall not be affected or

prejudiced in any manner by any provisions of this Order.

               15.     The Debtors are authorized and empowered to take all actions necessary to

implement the relief granted in this Order.




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               16.     This Court shall retain jurisdiction with respect to all matters arising from

or related to the implementation, interpretation, or enforcement of this Order.

Dated: Wilmington, Delaware
       _____________, 2015



                                            ___________________________________________
                                            HONORABLE BRENDAN L. SHANNON
                                            CHIEF UNITED STATES BANKRUPTCY JUDGE




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                                          EXHIBIT 1

                          Schedule of Ordinary Course Professionals

Name of Ordinary            Address                                         Service Provided
Course Professional                                                         to Debtors

Allen Matkins               1900 Main Street, 5th Floor                     Legal
                            Irvine, CA 92614
Allen & Overy               9th Floor, 3 Exchange Square                    Legal
                            Hong Kong
Chaves, Gleman,             Av. Brig. Faria Lima, 1.663-5° andar            Legal
Machado, Gilberto e         01452-001 - Sao Paulo, SP – Brazil
Barboza
Deloitte Tax LLP            695 Town Center Drive                           Tax preparation
                            Suite 1200
                            Costa Mesa, CA 92626
Duff & Phelps               311 S Wacker Drive                              Transfer pricing
                            Suite 4200                                      consultant
                            Chicago, IL 60606
Law Offices of Julie L.     27762 Antonio Parkway                           Legal
Plisinski                   Suite L1-229
                            Ladera Ranch, CA 92694
Fasken Martineau            800 Place Victoria, Bureau 3700                 Legal
DuMoulin SENCRL, srl.       Montreal, Quebec H4Z 1E9 Canada
Gibson, Dunn & Crutcher     3161 Michelson Drive                            Legal
LLP                         Irvine, CA 92612-4412
ICR, LLC                    685 Third Ave                                   Public Relations
                            2nd Floor
                            New York, NY 10017
Jauregui y Navarrete        Paseo de Los Tamarindos, 400-B                  Legal
                            Bosques de Las Lomas, Mexico D.F.
Jones Day                   3161 Michelson Dr                               Legal
                            Irvine, CA 92612
KPMG                        20 Pacifica Ste 700                             Auditors
                            Irvine, CA 92618
McInnes Cooper              1300-1969 Upper Water Street                    Legal
                            Halifax, S B3J2V1 Canada
Montaury Pimenta            Av. Almirante Barroso, 139, 7° andar            Legal
                            Rio de Janeiro, Brazil
O’Melveny & Myers           610 Newport Center Drive, 17th Floor            Legal
                            Newport Beach, CA 92660
O’Neil LLP                  19900 MacArthur Blvd, Ste 1050                  Legal
                            Irvine, Ca 92616
SL Consulting               6805 Lebanon Road                               Tax preparation;
                            #827                                            miscellaneous tax
                            Frisco, TX 75034                                advice
A J Park                    P.O. Box 565                                     Legal - Trademark
                            Auckland, NEW ZEALAND
A V Stagnetto, Triay        Regal House, Queensway                          Legal - Trademark
Stagnetto Neish             Gibraltar
                            tsn@tsnlaw.com
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Name of Ordinary            Address                                           Service Provided
Course Professional                                                           to Debtors

A.G. da Cunha Ferreira,     Rua das Flores, 74 - 4th Floor, 1200-195          Legal - Trademark
Lda.                        Lisboa, PORTUGAL
AAA Legal Services          P.O. Box 3926                                     Legal - Trademark
                            10509 Talinn
                            Estonia
ABENTE STEWART              avv@abentestewart.com.py                          Legal - Trademark
Abu-Ghazaleh Intellectual   Suite No. 120, First Floor                        Legal - Trademark
(Oman)                      Hatat House, Al-Nahdha Street
                            Wadi Adai, Muscat
                            SULTANATE OF OMAN
Abu-Ghazaleh Intellectual   Palestine Tower, 3rd Floor                        Legal - Trademark
Property                    Al-Shuhada’a, Al-Rimal
                            Gaza
Abu-Ghazaleh Intellectual   175, Bd Krim Belkacem                             Legal - Trademark
Property - Algeria          Algiers, ALGERIA
Abu-Ghazaleh Intellectual   PO Box 921100 1/192                               Legal - Trademark
Property (AGIP in Jordan)   Amman, JORDAN
Abu-Ghazaleh Intellectual   Unitag House, 4th Floor                           Legal – Trademark
Property (Bahrian)          Government Avenue
                            Manama, BAHRAIN
Abu-Ghazaleh Intellectual   9th Floor, 51 El-Hegaz Street                     Legal - Trademark
Property (Egypt)            Mohandseen, Cairo, Egypt
Abu-Ghazaleh Intellectual   Al-Sadoun St., Mahala 101                         Legal - Trademark
Property (Iraq)             Zuqaq 87, Ahmad Building
                            3rd Floor
                            Baghdad, IRAQ
Abu-Ghazaleh Intellectual   Souk Al-Kabir Building, 9th Floor                 Legal - Trademark
Property (Kuwait)           East Wing, Fahed Al-Salem Street, Safat
                            STATE OF KUWAIT
Abu-Ghazaleh Intellectual   Halabi Building, 1st Floor                        Legal - Trademark
Property (Lebanon)          Sanaeh, Beirut
                            LEBANON
Abu-Ghazaleh Intellectual   P.O. Box 921100                                   Legal - Trademark
Property (Libya)            Amman 11192
                            KINGDOM OF JORDAN
Abu-Ghazaleh Intellectual   Trans Orient Center Building                      Legal - Trademark
Property (Qatar)            Airport Road, Doha
                            STATE OF QATAR
Abu-Ghazaleh Intellectual   Bank Islam Sudan Building, 6th Floor, Apartment   Legal - Trademark
Property (SUDAN)            No.1
                            Alqaser Street, Khartoum
                            SUDAN
Abu-Ghazaleh Intellectual   7th Floor, Al-Badeen Building                     Legal - Trademark
Property (Syria)            Al-Thawra Bridge, Damascus
                            SYRIA


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Name of Ordinary             Address                                             Service Provided
Course Professional                                                              to Debtors

Abu-Ghazaleh Intellectual    Appartment B.3.2.                                   Legal - Trademark
Property (Tunisia)           7 rue 8002, Montplaisir
                             Tunis 1002
                             TUNISIA
Abu-Ghazaleh Intellectual    Hilal Tower, 12 comiche Al-Buhaira, Sharjah         Legal – Trademark
Property (UAE)               UNITED ARAB EMIRATES
Abu-Ghazaleh Intellectual    Green Tower Building                                Legal - Trademark
Property (West Bank)         Al-Nuzha Street, Ramallah
                             WEST BANK
Abu-Ghazaleh Intellectual    4th Floor, Abdullah Bin Ishaq Building,             Legal - Trademark
Property (Yemen)             Al-Zubairi Street
                             Sana’a, REPUBLIC OF YEMEN
Adams & Admas                P.O. Box 3511                                       Legal - Trademark
                             Halfway House
                             REPUBLIC OF SOUTH AFRICA 1685
Adriana Villalba,            Not available                                       Legal - Trademark
Marcas/Trademarks
Department
Albihns Stockholm AB         P.O. Box 5581                                       Legal - Trademark
                             Stockholm S-11485
                             SWEDEN
Allen & Gledhill             One Marina Boulevard #28-00                         Legal - Trademark
                             SINGAPORE 018989
Andrew Radclyffe             Arad@welkam.solomon.com.sb                          Legal - Trademark
Arochi, Marroquin &          Insurgentes Sur 1605-Piso 20                        Legal - Trademark
Lindner, S.C.                Col. San Jose Insurgentes, 03900
                             MEXICO D.F.
ASTURGÓ, MATEU &             Avda. Meritxell, 128 3-A                            Legal - Trademark
associats                    AD500 Andorra la Vella
                             Principality of Andorra
Balco Ltd Patent and Trade   Central PO Box 1056                                 Legal – Trademark
Mark Agency                  Ulaanbaatar-13
                             MONGOLIA
Barbat & Cikato              P.O. Box 53                                         Legal - Trademark
                             11.100 Montevideo
                             URUGUAY
Barger, Piso & Partner       Wien 1, Mahlerstrasse 9                             Legal - Trademark
                             A-1015 Wien, AUSTRIA
Barreda Moller               Av. Angamos Oeste 1200                              Legal - Trademark
                             Lima 18, PERU
Bermeo Law Firm              World Trade Center, Tower II                        Legal - Trademark
                             12th Floor
                             Av.12 Octubre N-24-528 y
                             Cordero, Quito ECUADOR



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Name of Ordinary             Address                                      Service Provided
Course Professional                                                       to Debtors

Beuchat, Barros &            Europa 2035, Providencia                      Legal - Trademark
Pfenniger                    Casilla 456-V
                             Santiago, Chile
Bezzina & Mifsud             3F, BOV Centre                                Legal - Trademark
                             High Street
                             Sliema SLM 16
                             Malta
Blake Dawson Waldron         PO Box 850                                    Legal - Trademark
                             Port Moresby
                             PAPUA NEW GUINEA
Bolet & Terrero              Av. Francisco de Miranda                      Legal - Trademark
                             Edificio Cavendes, Piso 12
                             Los Palos Grandes, Caracas 1062, VENEZUELA
Borenius & Co Oy Ab          Kansakoulukuja 3                              Legal - Trademark
                             Helsinki Finland-00100
Boult Wade Tennant           Veralum Gardens                              Legal – Trademark
                             70 Gray’s Inn Road
                             London WC1X 8BT
                             UNITED KINGDOM
Brenes Lleras IP             Regus Corp. Center, Piso 6                    Legal - Trademark
                             Edificio Escazu Corporate Center
                             Escazú 10203, San José
                             Costa Rica
Bufete Mejia & Asociados     P.O. Box 1744                                 Legal - Trademark
                             San Pedro Sula
                             HONDURAS
Bugnion S.A.                 Case 375                                      Legal - Trademark
                             CH-1211 Geneve 12
                             SWITZERLAND
Cabinet Hudicourt            27, Avenue Marie Jeanne                       Legal - Trademark
Woolley                      Cite de l’Exposition
                             Port-au-Prince, HAITI
Cabinet José CURAU           26 Bis Boulevard Princesse Charlotte          Legal - Trademark
                             MONTE-CARLO 98000 Principauté de Monaco
                             P.O. BOX 54 MC 98001 MONACO CEDEX
Castillo Grau & Associates   Carrera 13 No. 37-43                          Legal - Trademark
                             12th Floor
                             Bogota, Colombia
Conyers Dill & Pearman       Clarendon House                               Legal - Trademark
                             2 Church Street
                             Hamilton
                             Bermuda HM CX
Corrs Chambers Westgarth     600 Bourke Street                             Legal - Trademark
                             Melbourne Victoria 3000
                             AUSTRALIA
Cox Hallett Wilinson         18 Parliament Street Hamilton HM FX           Legal - Trademark
Milner House                 BERMUDA

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Name of Ordinary           Address                                        Service Provided
Course Professional                                                       to Debtors

CPA Global                 2318 Mill Road, 12th Floor                     Legal – Trademark
                           Alexandria, VA 22314
Dancia Penn & Co           49 Main Street                                  Legal - Trademark
                           Road Town, Tortola
                           British Virgin Islands
Danubia Patent &           PO Box 198                                      Legal - Trademark
Trademark Attorneys        H-1368 Budapest 5
                           HUNGARY
Domnern Somgiat and        719 Si Phya Road                                Legal - Trademark
Boonma                     Bangkok 10500
                           THAILAND
Dr. Ing M Curell Sunol     Passeig de Gracia 65 Bis                        Legal - Trademark
I.I.S.L                    Barcelona 08008
                           SPAIN
Drew & Napier              20 Raffles Place                                Legal - Trademark
                           #17-00 Ocean Towers
                           Singapore 048620
DunnCox                    48 Duke Street                                  Legal - Trademark
                           Kingston, JAMAICA
Emil Arguelles &           35 New Road,                                    Legal - Trademark
Company                    PO Box 1846
                           Belize City, Belize
Emilianides & Kyriakides   Kyriakides Buildings                            Legal - Trademark
                           P.O. Box No. 21090
                           1501 Nicosia, CYPRUS
Estudio Caldera            P.O. Box 4597                                   Legal - Trademark
                           Managua, NICARAGUA
Euromarkpat Albania Ltd    Rr. Myslym Shyri, P. 60 Shk. 1, Apt 9          Legal – Trademark
                           Tirana, ALBANIA
F.R. Kelly & Co.           27 Clyde Road                                   Legal - Trademark
                           Ballsbridge
                           Dublin 4
                           IRELAND
Federis & Associates       Suite 2005, 88 Corporate Center                Legal – Trademark
                           141 Valero St., Salcedo Village
                           Makati City 1226
                           PHILIPPINES
Fitzwilliam, Stone,        48-50 Sackville Street                          Legal - Trademark
Furness-Smith & Morgan     Port of Spain
                           TRINIDAD & TOBAGO
Freshfields Bruckhaus      Strawinskylaan 10                               Legal - Trademark
Deringer LLP               1077 XZ Amsterdam
                           The Netherlands
Fungateiki Law Firm        Laifone Road, Kolofo’ou                         Legal - Trademark
                           Nuku’alofa,
                           Kingdom of TONGA


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Name of Ordinary          Address                                        Service Provided
Course Professional                                                      to Debtors

G. Breuer                 25 de Mayo 460                                  Legal - Trademark
                          1002 Buenos Aires
                          ARGENTINA
Gabriel Patent & Trade    Celle Cap. Ravelo No. 2366                      Legal - Trademark
Mark Office               P.O. Box 830
                          La Paz, BOLIVIA
George C. J. Moore        105 S. Narcissus Avenue, Suite 812              Legal - Trademark
                          West Palm Beach, FL 33401
Gina Roca, LEXINCORP      groca@lexincorp.com                            Legal - Trademark
Global Law Associates     G.P.O. Box 57, Ramshah Path                    Legal – Trademark
                          Putalisadak, Kathmandu
                          NEPAL
Gowling Lafleur           120 King Street West                            Legal - Trademark
Henderson LLP             Suite 560
                          Hamilton, Ontario
                          CANADA L8N 3R4
Grünecker, Kinkeldey,     Leopoldstrasse 4                                Legal - Trademark
Stockmair &               80802 München
Schwanhäusser             Germany
Guillaume Marchais        Avocat Associé                                  Legal - Trademark
                          4, avenue Hoche
                          75008 Paris, France
Holec, Zuska & Partneri   Vaclavske namesti 2 – 4                         Legal - Trademark
                          110 00 Praha 1
                          CZECH REPUBLIC
INTELS                    1, Vasylkivska St.                              Legal - Trademark
                          Office 304/3
                          Kyiv 3040
                          Ukraine
INTELS                    33/22 s.1, ul, Pokrovka                         Legal - Trademark
                          Moscow 103062
                          RUSSIA
Inventa Patent &          Palisady 50                                     Legal - Trademark
Trademark Agency          81106 Bratislava 1
                          SLOVAK REPUBLIC
INVESTIP                  1 Bis Yet Kieu Street                           Legal - Trademark
                          P.O. Box 418
                          Hanoi, VIETNAM
IRIN Patent               3 Leonardo da Vinci St                          Legal - Trademark
                          Sofia 1124
                          Bulgaria
Isshiki & Co.             Rookin-Shinbashi Bldg 3F                       Legal – Trademark
                          12-7, Shinbashi, 2-Chome
                          Minato-Ku, Tokyo 105
                          JAPAN
ITEM Patent & Trademark   Resljeva 16                                     Legal - Trademark
Agency                    1000 Ljubljana, SLOVENIA

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Name of Ordinary           Address                                         Service Provided
Course Professional                                                        to Debtors

Jimenez, Molino y Moreno   Cuba Avenue                                     Legal - Trademark
                           Between 36 & 37 Street
                           REPUBLIC OF PANAMA
John & Kernick (Bowman     + 27 11 315 7400                                Legal - Trademark
Gilfillan, Inc.)
John Dyrud/Leah Nicols     Victoria House, The Valley                      Legal - Trademark
Webster Dyrud Mitchell     ANGUILLA
Johnson Stokes & Master    16-19th Floors                                  Legal - Trademark
                           Prince's Building
                           10 Chater Road
                           Hong Kong
Jones Day                  3161 Michelson Drive, Suite 800                 Legal - Trademark
                           Irvine, CA 92612
Jones Day                  901 Lakeside Avenue                             Legal - Trademark
                           Cleveland, Ohio 44114
Kelsick & Kelsick          Logwood Road, Old Towne                         Legal - Trademark
                           MONTSERRAT
Khine & Khine              No.(162), First Floor, 35 Street                Legal - Trademark
Trademarks                 Yangon, MYANMAR
Kruse, Enari & Barlow      2nd Floor, N.P.F. Building                      Legal – Trademark
                           Beach Road, Apia
                           SAMOA
Lall & Sethi               M-19A, 2nd Floor, South Extension – II          Legal - Trademark
                           New Delhi - 110 049
                           INDIA
Liu, Shen & Associates     A0601, Huibin Building No. 8, Beichen Dong St   Legal - Trademark
                           Chaoyang District
                           Beijing 100101, CHINA
Marchais & Associes        Guillaume.marchais@marchais.com                 Legal - Trademark
Marchi & Partners          Via Pirelli 19                                  Legal - Trademark
                           I-20124 Milano, ITALY

MarkMonitor Client         Trisha.Ytuarte@markmonitor.com                  Legal - Trademark
Services
Mayer Brown JSM            16th-19th Floors                                Legal - Trademark
                           Prince's Building
                           10 Chater Road
                           Central, Hong Kong
Montaury Pimenta           Almirante Barroso 139                           Legal - Trademark
Machado Lioce              7 andar Centro CEP 20031-005
                           Rio de Janeiro, Brazil
Mosko & Co                 49 Collins Avenue                               Legal - Trademark
                           Nassau, Bahamas
Mr Delwar Hossain          Bangladesh IP Law Office VIP Road               Legal - Trademark
                           35/A Purana Paltan Line, Dhaka 1000
                           Bangladesh


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Name of Ordinary           Address                                       Service Provided
Course Professional                                                      to Debtors

Ms. Fiona Hinds            Carrington & Sealy Belmont House              Legal – Trademark
                           Belmont Road, St Michael
                           Barbados
Munro Leys & Co            Level 3, Pacific House                         Legal - Trademark
                           Butt Street
                           Suva, Fiji
Nassir Kadasa & Partners   Ibn Katheer Street                             Legal - Trademark
                           Riyadh 11465
                           SAUDI ARABIA
Nicholas John & Co         46 Micoud Street                               Legal - Trademark
                           PO Box 1209
                           Castries SAINT LUCIA
PARASEC                    12631 E Imperial Hwy #212B                     Legal - Trademark
                           Santa Fe Springs, CA 90670
Patice - IP Law Firm       P.O. Box 8630                                  Legal - Trademark
                           Reykjavik 128
                           ICELAND
Pekin & Pekin              Lamartine Caddesi 10                           Legal - Trademark
                           Taksim 34437
                           Istanbul, Turkey
Peyman Erginal Advocate    20, Mustafa Cagatay Avenue                     Legal - Trademark
                           Girne, Via Mersin 10, Turkey
Polservice                 P.O. Box 335                                   Legal - Trademark
                           Warszawa 00-950
                           POLAND
Popovic Popovic            Takovska 19                                    Legal - Trademark
Samardzija & Popovic       11120 Belgrade 35
                           SERBIA AND MONTENEGRO
Promes Van Doorne          L. G. Smith Boulevard 62                      Legal – Trademark
                           ARUBA
R. Aghababian & Co.        Ave. Djomhoori Islami (Naderi)                 Legal - Trademark
                           Nowbahar Street, No. 18
                           Tehran 11354, IRAN
Romero Pineda &            67 Avenida Sur                                 Legal - Trademark
Associates                 Pasaje A #11-C
                           Colonia Roma
                           San Salvador, El Salvador
Rominvent S.A.             35, E. Pangratti St., 1st Floor                Legal - Trademark
                           Sector 1, Bucharest
                           ROMANIA
Rouse & Co International   Suite 601, Wisma Pondok Indah                  Legal - Trademark
                           Jalan Sultan Iskandar Muda Blok -TA
                           Pondok Indah
                           Jakarta 12310
                           INDONESIA
RP MACAU – Intellectual    No. 6, Travessa da Misericordia                Legal - Trademark
Property Services Ltd      1st and 2nd Floors ‘A’
                           MACAU
                                              8
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Name of Ordinary            Address                                           Service Provided
Course Professional                                                           to Debtors

SABA & Co                   Residence Zerktouni, 4th Fl., Flat No. 7,          Legal - Trademark
                            185 Blvd Zerktouni
                            Casablanca, MOROCCO
SALOMONI &                  P.O. Box 727                                       Legal - Trademark
ASOCIADOS                   Asunción - Paraguay
Sanford T. Colb & Co.       PO Box 2273, Rehovot 76122                         Legal - Trademark
(AL)                        Tel-Aviv 64733
                            ISRAEL
Sheppard Mullin Richter &   650 Town Center Drive, 4th Floor                   Legal - Trademark
Hampton LLP                 Costa Mesa, CA 92626-1993
Shook Lin & Bok             20th Floor, Arab-Malaysian Building               Legal – Trademark
                            55 Jalan Raja Chulan
                            50200 Kuala Lumpur
                            MALAYSIA
Snell & Wilmer L.L.P.       600 Anton Boulevard, Suite 1400                    Legal - Trademark
                            Costa Mesa, CA 92626 USA
Soerensen Garcia            Rua da Quitanda, 187 – 8º andar                    Legal - Trademark
Advogados Associados        20091-005 Rio de Janeiro, Brasil
Spoor & Fisher              P.O. Box 281, St Helier                            Legal - Trademark
                            JERSEY JE4 9TW
Sprenger Kolzoff Ospelt     Postfach 183                                       Legal - Trademark
                            Austrasse 27
                            FL-9490 Vaduz
                            LIECHTENSTEIN
Surinaamse                  Maatschappij N.V.                                  Legal - Trademark
Trustmaatschappij N.V.      Gravenstraat 26-30
                            Paramaribo, SURINAME
Taedonggang Patent and      Kangan 2-Dong, Songyo District                     Legal - Trademark
Trademark Law Office        Pyongyang, DPR KOREA
TANA N.V.                   Svarcova 2                                         Legal - Trademark
                            HR-10000
                            Zagreb, Croatia
Tandbergs Patentkontor      Uranienborg Terrasse 19                            Legal - Trademark
A/S                         Oslo 0306,
                            NORWAY
Theodorides, P. D. &        2 Coumbari Street                                  Legal - Trademark
Papaconstantinou, H.G       Athens 106 74
                            Greece
Thomson Reuters             compumark.us@thomsonreuters.com                   Legal – Trademark
Thu Anh Nguyen/Le           1 Bis Yet Kieu Street                             Legal - Trademark
Quang Minh, Investip        P.O. Box 418
                            Hanoi, VIETNAM
Trademarks Department       Cameron and Shepard                                Legal - Trademark
                            2 Avenue of the Republic
                            Georgetown, Guyana



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Name of Ordinary            Address                                          Service Provided
Course Professional                                                          to Debtors

Troncoso y Caceres          Socorro Sanchez 253                              Legal - Trademark
                            Apartado Postal 1182
                            Santo Domingo,
                            Republic of DOMINICA
United Trade Mark and       Top Floor, West End Building                     Legal - Trademark
Patent Services             61- The Mall Road
                            Lahore 54000, PAKISTAN
Veira, Grant & Associates   3 Church Street                                  Legal - Trademark
                            Basseterre
                            St KITTS & NEVIS
Vic C.Y. Shen/C.V. Chen,    7th Floor                                        Legal - Trademark
Lee and Li                  No. 201 Tun Hua North Road
                            Taipei 105, TAIWAN, R.O.C
Watch Service, Saegis &     Not available                                    Legal - Trademark
IP Master
Webber Wentzel Bowens       P.O. Box 61771                                   Legal - Trademark
                            Marshalltown 2107
                            SOUTH AFRICA
Y.P. Lee, Mock & Partners   The Cheonghwa Building                           Legal - Trademark
                            1571-18 Seocho-Dong, Seocho-gu, Seoul, 137-874
                            REPUBLIC OF KOREA
Yusuf Nazroo, Georges       8 Georges Guibert Street                         Legal - Trademark
Andre Robert                Port Louis
                            MAURITIUS
Zacco Denmark A/S           Msn@zacco.dk                                     Legal - Trademark




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                                          EXHIBIT 2

                                        OCP Declaration


In re Quiksilver, Inc., et al.
Chapter 11 Case No. 15-11880 (BLS)


                                     OCP DECLARATION

TO BE COMPLETED BY PROFESSIONALS EMPLOYED BY QUIKSILVER, INC., ET AL.
(the “Debtors”)

DO NOT FILE THIS DECLARATION WITH THE COURT.
RETURN IT TO THE DEBTORS AT:

       Skadden, Arps, Slate, Meagher & Flom LLP
       300 S. Grand Ave., Suite 3400
       Los Angeles, CA 90071
       Attn: Annie Li, Esq.
       Email: annie.li@skadden.com

If more space is needed, please complete on a separate page and attach.

I, __________________, PURSUANT TO 28 U.S.C. § 1746, HEREBY DECLARE THAT THE
FOLLOWING IS TRUE TO THE BEST OF MY KNOWLEDGE, INFORMATION AND
BELIEF:

1.     Name and address of firm:




2.     Date of retention:

3.     Type of services provided (accounting, legal, etc.):
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4.   Brief description of services to be provided:




5.   Arrangements for compensation (hourly, contingent, etc.):



6.   Average hourly rate (if applicable):
     Estimated average monthly compensation based on prepetition retention (if firm was
     employed prepetition):



7.   Prepetition claims against any of the Debtors held by the firm:

     Amount of claim: $

     Date claim arose:

     Source of claim:

8.   Prepetition claims against any of the Debtors held individually by any member, associate,
     or professional employee of the firm:

     Name:

     Status:

     Amount of Claim: $

     Date claim arose:

     Source of claim:

9.   Stock of any of the Debtors currently held by the firm:

     Kind of shares:

     No. of shares:




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10.   Stock of any of the Debtors currently held individually by any member, associate, or
      professional employee of the firm:

      Name:

      Status:

      Kind of shares:

      No. of shares:

11.   The above-named firm holds no interest adverse to the Debtors or to their estates with
      respect to the matters on which the firm is to be employed, except as disclosed below.
      (Provide nature and brief description of any such adverse interest.)




I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
CORRECT.


Dated: _______________________


                                                   Name:
                                                   Title:
                                                   Company:
                                                   Address:

                                                   Telephone:
                                                   Facsimile:




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